            Case 1:15-cv-03355-GLR Document 39 Filed 12/28/20 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

                                                     *
HERSCHEL W. VICK EL,
                                                     *
       Plaintiff,
                                                     *
       v.                                                    Case No. 15-CV-03355-GLR
                                                     *
OFFICER EDWARD CARMEAN, ET AL.,

                                                     *
       Defendants.
                      *   *    *    *    *     *    *    *  *
                         REPLY TO PLAINTIFF’S OPPOSITION TO
                     DEFENDANTS’ RENEWED MOTION TO DISMISS OR,
                       ALTERNATIVELY, FOR SUMMARY JUDGMENT

       Officer Edward Carmean and Chief Arnold, Defendants, by their undersigned counsel, pursuant

to Local Rule 105.1, submit this Reply to Plaintiff’s Opposition to their Renewed Motion to Dismiss or,

alternatively, for Summary Judgment.

       I.       Argument

                A.     The Complaint Fails to State a Claim Against Chief Downing

       Although Vick’s opposition includes a lengthy discussion regarding the motion to dismiss, it

is devoid of any argument as to why the claims against Chief Downing should not be dismissed.

Therefore, for the reasons stated in Defendants’ motion, the controlling pleading fails to state a claim

against Chief Downing and the claims against him must be dismissed with prejudice.

                B.     Absence of Fourth Amendment Violation by Officer Carmean

       The focus of Vick’s opposition is on legal argument and he spends little time actually addressing

the conduct of Officer Carmean on the date in question. Conspicuous in its absence from Vick’s

opposition is an affidavit from him that contradicts Officer Carmean’s version of events. Rather than

submit his own affidavit, he relies on portions of transcripts from unspecified dates, that do not
         Case 1:15-cv-03355-GLR Document 39 Filed 12/28/20 Page 2 of 3



contradict Officer Carmean’s version of events. To the contrary, the evidence submitted by Vick simply

confirms the testimony given by Officer Carmean in his affidavit.

       Vick argues that there is a dispute of material fact that precludes the entry of summary judgment.

There is not. The evidence submitted by Vick does not contradict Officer Carmean’s undisputed

affidavit. Based upon that affidavit, it is still undisputed that: Officer Carmean had reasonable

articulable suspicion / probable cause to detain Vick on August 29, 2014; Vick ignored lawful orders

given to him by Officer Carmean; Officer Carmean had probable cause to arrest Vick; and Vick

actively and aggressively resisted arrest. Vick had not introduced any evidence that he refused to drop

the lit cigarette that he was holding when he was arrested or that he made numerous attempts to push off

the wall to turn and face Officer Carmean while he was trying to take him into custody. He also does

not dispute that he refused to give his hands to Officer Carmean or that he struck Officer Carmean in the

chest with his elbow during the encounter. He similarly does not dispute that he continued to resist

arrest up until the moment when Officer Carmean took him to the ground or that he continued to resist

once upon the ground. Finally, it is undisputed that, based upon Vick’s continued resistance and refusal

to obey simple lawful commands, which had necessitated a call for backup, Officer Carmean struck

Vick, with an open hand, twice in the head area to gain compliance. These facts remain unrefuted and

warrant the entry of summary judgment on his behalf in this matter.

               C.     Existence of Qualified Immunity

       Vick’s opposition does not even appear to address the issue of qualified immunity. As argued in

Defendants’ original motion, although the right to be free from excessive force is clearly established,

the contours of the right do not prohibit a police officer making an arrest on an outstanding bench

warrant from using a modicum of force to restrain an individual who has repeatedly refused to obey

lawful police orders and has used physical force to resist arrest. Under the circumstances encountered



                                                 2
         Case 1:15-cv-03355-GLR Document 39 Filed 12/28/20 Page 3 of 3



by Officer Carmean, no reasonable person in his place would have appreciated that his actions violated

Vick’s Fourth Amendment rights. Thus, at a minimum, Officer Carmean is entitled to qualified

immunity.

       II.     Conclusion

       For these reasons, and the reasons stated in the Memorandum in Support of Defendants’ the

Renewed Motion to Dismiss or, alternatively, for Summary Judgment, the claims against Chief Dowling

must and should be dismissed with prejudice and summary judgment should be entered in favor of

Officer Carmean.




                                                     ___________/s/_____________
                                                     Matthew D. Peter
                                                     Federal Bar No. 26351
                                                     mpeter@lgit.org
                                                     7225 Parkway Drive
                                                     Hanover, Maryland 21076
                                                     Office (443) 561-1700
                                                     Facsimile (443) 561-1701
                                                     Counsel for Defendants

                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of December 2020, the foregoing Reply to Plaintiff’s

Opposition to Defendants’ Renewed Motion to Dismiss or, alternatively, for Summary Judgment was

filed electronically, with the Court, via ECF, and was sent via First Class, U.S. Mail, postage prepaid to:

Herschel W. Vick El, 16050 Flower Street, Berlin, Maryland 21811.




                                                     ___________/s/_____________
                                                     Matthew D. Peter


                                                 3
